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US. District Court
Middle District of TN

(2.) No. 3- 23-ev- 00167 (3.) No. 3- 23-cv- 00182 (4.) No. 3- 23- cv- 00183 (5.) No. 3- 23- cv- 00278

(1.) Lead Case No. 3-23-cv- 00198

UNITED STATES DISTRICT COURT- MIDDLE DISTRICT OF TENNESSEE
719 Church Street
Nashville, Tennessee 37203

CEDRIC GREENE,

Plaintiff.

PLAINITFF’S MOTION FOR CHANGE OF VENUE; DECLARATION IN SUPORT
OF
MOTION

Cedric Greene
501 East 6" Street
Los Angeles, California 90021
Tel: (323) 972- 9966
Email: Cedricgreene33@yahoo.com

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TO THE CHIEF JUDGE OF THE MIDDLE DISTRICT OF TENNESSEE AND CLE OF
COURT: Se TD

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Greene is an out of state resident that presented the above actions in this District from a State that
is across the Country from Tennessee.

Under 28 U.S. Code Section 1404(a), the self- represented litigant respectfully ask the Chief Judge
and the clerk of this Court to work with him concerning a change of venue of each and every case
listed in this pleading.

The change of venue motion of Mr. Greene is accompanied by a declaration in support of the
motion, presented under Federal Rules of Civil Procedure 56(4).

DECLARATION OF GREENE IN SUPPORT OF HIS CHANGE OF VENUE MOTION TO THE
CLERK OF THE COURT AND CHIEF JUDGE

The lead case is listed as number one. Greene has filed five civil actions in the Tennessee Federal
system because the State Court of Davidson County doesn’t permit out of state residents to initiate
matters unless fees are paid.

Greene didn’t have the necessary funds to cover the cost to initiate pro se litigations in the State
Court of Davidson County, Tennessee.

Therefore, he went the Federal route in efforts to obtain assistance in resolving the lead case and
other matters brought to the Federal system. The lead case is a matter that has traveled.

It’s unchallenged that his matters doesn’t have a Tennessee connection, but he is a litigant that has
been “black- listed” in the judicial system where he is located.

That system also “black- listed” him in other jurisdictions in the United States that had the desire
to work with the self- represented litigant on respectful and cordial terms.

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If he had a clear path to justice as a pro se litigant, it’s possible that matters would come to
resolution rather than something else.

In January 2023 on the other hand, Greene was finally able to work something out with that

judicial system that allowed him to an unrestricted free agent in pro se litigations.

The California system essentially told Greene in its orders to try his luck elsewhere rather than
going about change of venue matters in the proper fashion that it’s done.

In professional sports, League Commissioners has it under Collective Bargaining Agreements
(CBA) where teams can sign players to a contract, and subsequently trade them to another team.

A sign and trade guarantees that the player will get his exact earnings with the team that they are
trading them to. That’s what Greene is seeking to do with his cases that he has filed in the
Tennessee Federal system.

Greene is a pro se litigant that is no stranger to disrespect as a self- represented litigant. The system
in the State where he is located had “black- listed” him in their system.

In Colorado’s system, he was “restricted” at the State and Federal levels. He was also “restricted” in
the Tenth Circuit. The Tenth Circuit then sent him a letter telling him to place a halt at contacting
the Court. What does this have to do with Tennessee’s system?

As previously explained, the State Court system in Tennessee doesn’t permit residents outside of
Tennessee to pursue civil litigations under the pro se status without the necessary fees. The
procedures are different in Federal Courts.

Greene’s fee applications were approved, but the District Court’s Clerical Staff has showed Greene
in the presence of his family of their desires for him to “transition out of the Tennessee Federal
system as a self- represented litigant.”

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That’s unfortunate for Greene and his family because they were doing their best to support his
efforts to not only resolve the lead case, they were trying to assist him with other case related matters.

On the other hand, the disrespect has reached a point to where the Court has no other option but to
invoke the code that permits cases to be transferred from one jurisdiction to the other.

Greene has bad customer service on a number of occasions from the District Court’s Clerk’s Office
in which indicates that they wish for him “to “get the hell out of Tennessee’s Federal system

immediately!”

We wish to accommodate the District Court’s Clerk’s Office and its staff. We also wish to
accommodate Tennessee’s United States Marshals.

If Greene was to be disruptive towards Tennessee’s clerical staff and case administrators, it’s
assumed that they would have him as the subject of a possible investigation. That’s not the case
here.

He’s an out of state resident that Tennessee’s system doesn’t have the desire for him to litigate
within its system.

It’s no other option available but to ask for assistance from the District Court’s Chief Judge to
transfer the matters out forthwith.

If the Court is against change of venue order, it should be something in the response order that will
give Greene the permission to relocate the cases himself without any legal consequences in the
accepting venue.

That only means that it would take the “cold” lead case longer to be resolved. That’s why it’s
difficult for Cedric Greene to accomplish success in the judicial system.

It’s always some obstacle that interrupts his path. In Tennessee it was fees at the state level. The
Federal level was inadequate and poor customer service from District Court staff.

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They wish for Cedric Greene to be out the Tennessee system in an immediate fashion, and we will
fully grant them their wish. We also will work with the District Court’s Chief Judge on their behalf.

For all of the above reasons, we ask that all listed cases be gathered and forwarded to the District
Court’s Chief Judge. Once the Chief Judge obtains every case, we as a family will assist the Chief
Judge in the transition process.

It’s no further reason for the District Court staff to display unprofessional demeanor towards
Greene in the presence of his family, because they are going to assist in the process of transitioning
the matters out to an accepting venue.

It’s also no reason for the District Court to declare or identify Greene. The proper solution is to
work with him and his family to transition to another Federal venue that will be more
accommodating to his desire to litigate in the venue of opportunity.

It isn’t available nowhere in Tennessee for Cedric Greene, in which has us asking for a legal change
of venue and transition out on unrestricted terms.

I declare under penalty of perjury that the foregoing is true and correct, and that this declaration
was executed on this 12" day of April, 2023.

Signed by: AAS24

Cedric Greene

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